                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        GEORGE ENGURASOFF, et al.,
                                   7                                                         Case No. 14-md-02555-JSW (MEJ)
                                                       Plaintiffs,
                                   8                                                         DISCOVERY ORDER
                                                v.
                                   9                                                         Re: Dkt. No. 146
                                        COCA-COLA REFRESHMENTS USA,
                                  10    INC., et al.,
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13                                            INTRODUCTION

                                  14          Pending before the Court is a Joint Letter Brief regarding the merit of Coca-Cola’s

                                  15   assertion of the attorney-client privilege to support its redaction of emails between Coca-Cola

                                  16   personnel and third parties who have provided printing services. Ltr. Br., Dkt. No. 146.

                                  17          The undersigned has reviewed the parties’ positions and orders the parties to submit

                                  18   supplemental information.

                                  19          Coca-Cola shall submit a declaration attesting to the facts it contends support its assertion

                                  20   of privilege in redacting the documents at issue in the Letter Brief. Id. at 5 (indicating Coca-Cola

                                  21   is prepared to submit such a declaration). The declaration(s) shall be submitted by persons

                                  22   attesting they have personal knowledge of the working relationship between the third parties and

                                  23   Coca-Cola’s counsel, the work-flow between the third parties and Coca-Cola’s counsel, and the

                                  24   specific nature of the legal advice provided by Coca-Cola’s counsel to these third parties in

                                  25   connection with labeling and ingredient list disclosures. The declaration(s) shall provide sufficient

                                  26   detail to allow the Court to assess the validity of the assertion of privilege with respect to each

                                  27   document listed in Exhibit 1, although Coca-Cola may address documents in categories if

                                  28   appropriate.
                                   1          Plaintiff shall file a supplemental brief addressing each of the points raised by Coca-Cola

                                   2   at page 5 of the Letter Brief regarding the timeliness of Plaintiff’s motion, and any other relevant

                                   3   points. The supplemental brief shall not exceed three pages.

                                   4          The parties shall file these documents no later than April 27, 2017, and may request

                                   5   additional time by submitting a joint stipulation (or a declaration explaining why a joint stipulation

                                   6   was not possible).

                                   7          IT IS SO ORDERED.

                                   8

                                   9   Dated: April 18, 2017

                                  10                                                    ______________________________________
                                                                                        MARIA-ELENA JAMES
                                  11                                                    United States Magistrate Judge
                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         2
